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 10   Email: Don@DKLawOffice.com
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 12                        UNITED STATES DISTRICT COURT
 13                      CENTRAL DISTRICT OF CALIFORNIA
 14   CALIFORNIA RIFLE & PISTOL                      Case No.: 8:23-cv-10169-SPG
      ASSOCIATION, INCORPORATED; THE                 (ADSx)
 15   SECOND AMENDMENT FOUNDATION;
      GUN OWNERS OF AMERICA, INC.;                   PLAINTIFFS’ NOTICE OF
 16   GUN OWNERS FOUNDATION; GUN                     MOTION AND MOTION FOR
      OWNERS OF CALIFORNIA, INC.;                    PRELIMINARY INJUNCTION
 17   ERICK VELASQUEZ, an individual;
      CHARLES MESSEL, an individual;                 Hearing Date: March 13, 2024
 18   BRIAN WEIMER, an individual;                   Hearing Time: 1:30 p.m.
      CLARENCE RIGALI, an individual;                Courtroom: 5C
 19   KEITH REEVES, an individual, CYNTHIA           Judge: Hon. Sherilyn Peace Garnett
      GABALDON, an individual; and
 20   STEPHEN HOOVER, an individual,
 21                       Plaintiffs,
                   v.
 22
      LOS ANGELES COUNTY SHERIFF’S
 23   DEPARTMENT; SHERIFF ROBERT
      LUNA, in his official capacity; LA VERNE
 24   POLICE DEPARTMENT; LA VERNE
      CHIEF OF POLICE COLLEEN FLORES,
 25   in her official capacity; ROBERT BONTA,
      in his official capacity as Attorney General
 26   of the State of California; and DOES 1-10,
 27                       Defendants.
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         NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
Case 2:23-cv-10169-SPG-ADS Document 20 Filed 01/26/24 Page 2 of 5 Page ID #:83



  1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2         Notice is hereby given that on March 13, 2024, at 1:30 p.m. in Courtroom 5C
  3   of the above-captioned court, located at 350 West 1st Street in Los Angeles,
  4   California, Plaintiffs California Rifle & Pistol Association, Incorporated, The
  5   Second Amendment Foundation, Gun Owners of America, Inc., Gun Owners
  6   Foundation, Gun Owners of California, Inc., Erick Velasquez, Charles Messel,
  7   Brian Weimer, Clarence Rigali, Keith Reeves, Cynthia Gabaldon, and Stephen
  8   Hoover (collectively, “Plaintiffs”) will move for a preliminary injunction under
  9   Rule 65(a) of the Federal Rules of Civil Procedure.
 10         Specifically, Plaintiffs will seek an order temporarily enjoining Defendants
 11   and their employees, agents, successors in office from continuing to engage in
 12   concealed handgun license (“CCW permit”) issuance policies that result in lengthy
 13   wait times, exorbitant fees, and discretionary issuance criteria. Additionally,
 14   Plaintiffs seek to require California to honor CCW permits issued in other states
 15   and the District of Columbia. Plaintiffs contend that long wait times, high fees,
 16   discretionary criteria, and not recognizing the CCW permits of other states each
 17   violate the constitution.
 18         This application is made on the grounds set forth in the accompanying
 19   memorandum of points and authorities, Plaintiffs’ Request for Judicial Notice, the
 20   signed declarations of each of the plaintiffs; other supporting declarations, all
 21   pleadings and papers filed in this action, the argument of counsel, and further
 22   evidence as the Court may consider before ruling on the preliminary injunction
 23   requested herein.
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         NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
Case 2:23-cv-10169-SPG-ADS Document 20 Filed 01/26/24 Page 3 of 5 Page ID #:84



  1         Respectfully Submitted,
  2   Dated: January 26, 2024               MICHEL & ASSOCIATES, P.C.
  3                                         /s/ C.D. Michel
                                            C.D. Michel
  4                                         Counsel for Plaintiffs
  5
  6   Dated: January 26, 2024               LAW OFFICES OF DON KILMER
  7                                         /s/ Don Kilmer
                                            Don Kilmer
  8                                         Counsel for Plaintiff The Second Amendment
                                            Foundation
  9
 10
 11                     ATTESTATION OF E-FILED SIGNATURES
 12         I, C.D. Michel, am the ECF User whose ID and password are being used to
 13   file this PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
 14   PRELIMINARY INJUNCTION. In compliance with Central District of California
 15   L.R. 5-4.3.4, I attest that all signatories are registered CM/ECF filers and have
 16   concurred in this filing.
 17   Dated: January 26, 2024                /s/ C.D. Michel
 18                                          C.D. Michel

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         NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
Case 2:23-cv-10169-SPG-ADS Document 20 Filed 01/26/24 Page 4 of 5 Page ID #:85


                              CERTIFICATE OF SERVICE
  1                     IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  2
      Case Name: California Rifle and Pistol Association, et al., v. Los Angeles County
  3   Sheriff’s Dept., et al.
  4   Case No.:    8:23-cv-10169-SPG (ADSx)
  5   IT IS HEREBY CERTIFIED THAT:
  6          I, the undersigned, am a citizen of the United States and am at least eighteen
      years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
  7   Beach, California 90802.
  8          I am not a party to the above-entitled action. I have caused service of:
  9   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PRELIMINARY
                             INJUNCTION
 10
      on the following parties, as follows:
 11
      Mark R Beckington
 12   Jane E. Reilley
      Christina R.B. Lopez, Deputy Attorney General
 13   California Department of Justice
      Office of the Attorney General
 14   300 South Spring Street, Suite 1702
      Los Angeles, CA 90013-1230
 15   jane.reilley@doj.ca.gov
      Christina.Lopez@doj.ca.gov
 16      Attorney for Defendants
 17   by electronically filing the foregoing with the Clerk of the District Court using its
      ECF System, which electronically notifies them.
 18
 19           Additionally, the following parties were served by transmitting a true copy
      via electronic mail as follows:
 20
       Dawyn R. Harrison, County Counsel                Bruce A. Lindsay
 21    Caroline Shahinian, Deputy County Counsel        Monica Choi Arredondo
       Office of the County Counsel                     JONES MAYER
 22    500 W Temple St Ste 648                          3777 N. Harbor Blvd.
       Los Angeles, CA 90012-3196                       Fullerton, CA 92835
 23    cshahinian@counsel.lacounty.gov                  bal@jones-mayer.com
                                                        mca@jones-mayer.com
 24    Attorneys for Defendants Los Angeles
       County Sheriff’s Department and Sheriff          Attorneys for Defendants La
 25    Robert Luna                                      Verne Police Department and La
                                                        Verne Chief of Police Colleen
 26                                                     Flores
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                                  CERTIFICATE OF SERVICE
Case 2:23-cv-10169-SPG-ADS Document 20 Filed 01/26/24 Page 5 of 5 Page ID #:86


  1         I declare under penalty of perjury that the foregoing is true and correct.
  2   Executed January 26, 2024
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                                                    Christina Castron
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                                  CERTIFICATE OF SERVICE
